                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TENNESSEE
                              AT GREENEVILLE


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )      No. 2:13-CR-014
                                               )
WAYNE POTTER                                   )


                                      ORDER

             The defendant’s November 5, 2013 sentencing hearing, presently scheduled

for 10:00 a.m., is RESET to 9:45 a.m. on that same day. This change is to the time only.

The defendant’s sentencing hearing remains set for November 5, 2013, in Greeneville.



                                                      ENTER:


                                                              s/ Leon Jordan
                                                         United States District Judge




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